Case 8:14-cv-02607-SDM-TGW Document 6 Filed 11/10/14 Page 1 of 1 PageID 35




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION




   ZVJEZDANA SPASOJEVIC,

         Plaintiff,

   v.                                             CASE NO.: 8:14-cv-2607-T-23TGW

   WELLS FARGO BANK, N.A.,

         Defendant.
   ____________________________________/


                                        ORDER

         In accord with the plaintiff’s notice (Doc. 5), this action is DISMISSED

   WITH PREJUDICE. The clerk is directed to terminate any pending motion and to

   close the case.

         ORDERED in Tampa, Florida, on November 10, 2014.
